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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:17-CV-23006-MGC

  JESSICA DIPUGLIA,
  Individually and on behalf of all
  Others similarly situated,                                       CLASS ACTION

         Plaintiff,                                                JURY TRIAL DEMANDED

  v.

  US COACHWAYS, INC.,
  a foreign corporation,

        Defendant.
  __________
  _____________________________/

                           DEFENDANT US COACHWAYS, INC.’S
                      RESPONSE TO PLAINTIFF’S STATEMENT OF CLAIM

         Defendant US Coachways, Inc. (“Defendant”) hereby files its Response to the Statement

  of Claims filed by Plaintiff Jessica Dipuglia (“Plaintiff”). [D.E. 11].

         I.      Introduction and General Denial

         At this early stage and having just retained counsel, Defendant denies Plaintiff’s

  Statement of Claim generally. Counsel for Defendant only recently appeared August 30, 2017,

  one week ago, and continues to investigate and seek additional information regarding the

  allegations of Plaintiff’s complaint.    Plaintiff moreover admits to providing her cellular phone

  number in order to receive notifications and information regarding her charter. Assuming that a

  message regarding access to charter information through a phone application was sent, such a

  text message concerns the core of her relationship with Defendant: a charter. See Van Patten v.

  Vertical Fitness Group, LLC, 847 F.3d 1037, 1046 (9th Cir. 2017) (“Van Patten gave his consent

  to being contacted about some things, such as follow-up questions about his gym membership

  application, but not to all communications. The scope of his consent included the text messages'

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  invitation to "come back" and reactivate his gym membership.”); Payton v. Kale Realty, LLC,

  164 F. Supp. 3d 1050, 1064 (N.D. Ill. Feb. 22, 2016) (holding that a text message stating, “Kale

  Realty named 2013 Top 100 Places to Work by Tribune — We pay 100% on sales — Reply or

  visit http://joinkale.com to learn more! Rply 68 to unsubscribe” was consented to because it

  concerned “developing a business relationship” as did “the initial reason for disclosing

  [plaintiff’s] cellular telephone number” two years prior.).             The alleged conduct cannot be

  considered negligent and/or “knowing and willful violations of the TCPA” as claimed by

  Plaintiff.

          Defendant is investigating the method by which the alleged texts were sent and

  associated consent forms.

          II.     Denial of Class Certification

          Plaintiff’s proposed class definition includes individuals who consented to receive text

  messages pertaining to charters. The proposed class consists of:

                  All persons within the United States who were sent a text message
                  promoting Defendant’s services, from Defendant or anyone on
                  Defendant’s behalf, to said person’s cellular telephone number
                  from March 10, 2016 to the date of filing of this Complaint.

  This class would improperly include individuals on active charters who received a text that

  indicated how they could download an application which provided additional information

  regarding that charter. Putting aside the consent issues, whether texts were sent via an automatic

  telephone dialing system or human intervention, and myriad individualized inquiries of all

  putative class members, Plaintiff’s proposed class is an improper fail-safe class, an independent

  bar to class certification.

          III.    Continued Investigation

          Defendant continues to seek additional information relating to Plaintiff’s allegations, but

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  denies any violation of the TCPA.

         Respectfully submitted this 6th day of September, 2017.

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                                                 /s/ Capri Trigo___________
                                                 Capri Trigo Esq.
                                                 Florida Bar No. 0028564
                                                 Ctrigo@grsm.com

                                                 Counsel for Defendant

                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 6, 2017, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record identified on the following Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for the counsel or parties who are not authorized to receive

  Notices of Electronic Filing.

                                                 /s/ Capri Trigo
                                                 Capri Trigo, Esq.

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